993 F.2d 1535
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Eugene BRACKENS, Petitioner-Appellant,v.Edward W. MURRAY;  Attorney General of the Commonwealth ofVirginia, Respondents-Appellees.
    No. 93-6195.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 28, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-635)
      Michael Eugene Brackens, Appellant Pro Se.
      Robert Quentin Harris, Assistant Attorney General, Richmond, Virginia, for Appellees.
      W.D.Va.
      DISMISSED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Michael Eugene Brackens seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Brackens v. Murray, No. CA-92-635 (W.D. Va.  Feb. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    